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1                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF CALIFORNIA
2
                                 (HONORABLE JAMES LORENZ)
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4
                                                  )       Criminal Case No.: 06CR1581
5                                                 )
     UNITED STATES OF AMERICA,                    )
6
                                                  )
7                          Plaintiff,             )
                                                  )       ORDER
8                                                 )
     JOE PISCIOTTA,                               )
9                                                 )
10                         Defendant,             )

11
             IT IS HEREBY ORDERED, good cause having been shown, that the criminal bond in
12   the above-captioned case with respect to Defendant Joe Pisciotta be exonerated, and that the trust
     deed with respect to the property located at 13743 Camino Susana, El Cajon, California 92021
13
     be released and reconveyed to Terry Lynn Pisciotta, and that all documents related to the release
14   and reconveyance be mailed to Law Offices of Richard B. Rodriguez, 815 Third Avenue, Suite
     207, Chula Vista, Ca 91911
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16          IT IS SO ORDERED
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18   Dated: January 31, 2007                                     _____________________________
                                                                 Honorable James Lorenz
19                                                               United States District Judge
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                                        ORDER
